
ROANS, Judge.
Without deciding upon the admissibility of Geo. Hite’s deposition, so far as it is affected by his alleged liability for costs, in the case before us; and there being other abundant testimony, the court is of opinion, that the appellee Bull, having agreed to wait with the said Hite, the principal debtor, one whole year, for a moiety of his debt, without the knowledge or consent of the appellant; thereby making a new contract with the principal, without the assent ' of the surety, *which not only varied materially the situation of the parties, but suspended his resort to a bill of quia timet; this case is brought within the established principle of equity, which was admitted by this court, in the case of Croughton and Duval, and the appellant is absolutely discharged thereby, from his liability to pay the debt in question.
The decree is, therefore, to be reversed with costs, and the appellee decreed to release the deed of trust in the proceedings contained; and be also perpetually injoined from demanding the debt aforesaid from the appellant.
